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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUGARTOWN WORLDWIDE LLC,
                                                    Case No. 19-cv-07460
              Plaintiff,                            Judge Mary M. Rowland
                                                    Magistrate Judge Jeffrey T. Gilbert
v.


LAIZHOU BEAUTY DREAM TRADING
CO., LTD., et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Sugartown

Worldwide LLC (“Plaintiff” or “Lilly Pulitzer”) hereby dismisses this action with prejudice as to

the following Defendant:

              Defendant Name                                          Line No.
           BLANKSDROPSHIP Store                                          4


Dated this 28th day of February 2020.       Respectfully submitted,
                                            /s/ RiKaleigh C. Johnson
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                                            Amy C. Ziegler
                                            RiKaleigh C. Johnson
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